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U. S. DISTRICT COURT
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United, Serkes District. Coyrt Sar RARE

, West ern ) istrict of A Ran S45 R ico
Daw id Stebbins Pent ft crt
V/s Case No I-3057

| egal Aid Defendant

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“hereby submits he Following a beieF jp Support of
my mot: (Or) hoe F SS.

prose Plaintiff Dawd Stebbins, ho

Dac kerourd and Acgument

1 To win OW claim oy cetaliation, L must (Prove the

Following elements? a .
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 Dekeydant subjeched Plaintiff to an adverse ac ‘on.

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DL! The adverse acTion was done because of the protecteh

oct iON.

Plaintiff Is otherwise. qualified foe Defend art's Services.

To recover uni tive damages - must prove that

Defendant either knew oY had no raffona | basis Soe
‘ot kno Wing tha its ac Tions vou! d violat e the Jaw.
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Me to correct OA few Common misconception s Put

lejther VeSendant and /oc this Court May have about

e law.
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\cetalation | aus. Simply by natuce oy being subject
| To suit, DeFendant possesses

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the AVA that dea)s with ceraliation slates thet
No person. May retaliate! Theoceticer| ly, L could Sie

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She does not like the disersmin (Or) suits i have
| Filed, Such a suit may ran into constitutional

‘problems, AS Congress does rot have the right to .
cegulate persona] cela tionships, bat the statute Sure

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Second, punitive damages ace not. bacre\ jin a
icealection clam. Title I ot the ADA bass unitive
: AMAES, uf cetalation claims are governeck f, Title

V of the ADA which ves pot bar punitive damages.

Third, there iS fo statutory damages cap Those

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the st stubory Janguege suggests Heck i+ applies

‘else where. ‘Therefore, my mone racy ecovery iS lim jted

vonly fe whet LL can piove Defend ant caused me .
: Now tect those acqunents are out ot the Way,

we CAN Moye. on. a . a
The original complaint filed in this case estab”

lishes Element #4. a
| { Neontroverted Fact 404 establishes element tEZ_
/ Ancon travected Fact HD establishes element 4
: Element 5 is established by SondT eee
' obser vat ion. oh V ncontrovected Facts He ‘ancl 4 1. y eT

‘enclant retused b repcesent me in Any matter, e~

cause - had sued them. They cal ( it a ‘conf ict

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oof interests, " but phe Federal laws prohibiting retaliati ee

Thump, by. wey ob the Federal Supremacy. Clays. ob
1e Constitution, state laws regarding conPhchs ON Te

est p ven t+ hid graders how thet Fed eca] . Jaw vn eet
ot ampTs state law | te ge ie ne _
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coming bak t jt lite 22
OF course, Defendant could have pot been aw:
ace Vaal the suit was of dlisccimination,. diving them.

the def ense ot mistake of Ff act This is where _ the. i
joint observation comes inte play. Defendant = learned. of ne
. this CASE by Velwing — if on Kacec. Defendant therefore
: lacks any rational basis for not now jr TAe nature. oe

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a Therefore, Element #3 and, ultimately, the actus
creus of retaliation, is established. The only question
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pensatory da mages are. 6,094,000 Since thect iS how ener
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myself tn 9 YELOIYO00 abuse of process suit thet
was dismissed fae a mistake tht almost. certainly

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ncontrovecred Fact tb establishes igeae— Element ee

#5, Debend ant had ACCESS fo. the } ext of the ADA ee
and | thus, hack ACCESS +, the Section on retaliation
laws, Defendant's “defense! of @ a conflict oS fre”

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PtAay that the Couct entec Par tial summary. judgment.
as fo the retaliation claim enter judg met toe the
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Duid Stebbins -
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